The final decree in the above cause was entered in the court below on October 10, 1936. On the same day appellant Harry K. Brown, in his official capacity as auditor of the county of Hawaii, filed his notice of appeal to this court. Under section 3795, R.L. 1935, the appellant was, because of his official status, not required to pay any costs or to make any deposit of the same or file any bond in order to perfect his appeal. It therefore follows that the appeal was completely perfected by the filing of appellant's notice on October 10. The record on appeal reached this court on November 5, 1936. Section 2 of rule 1 of the supreme court provides: "If the necessary papers are not filed in this court within twenty days after the issuance of a writ of error, perfecting of an appeal or allowance of a bill of exceptions or such further time as may be allowed by this court or a justice thereof the appeal may be dismissed for want of prosecution." The appellee moves to dismiss the appeal because of noncompliance with requirements of the rule. The appellant offers nothing to excuse his failure to observe the rule. The motion should be granted. (See Estate of Nukushina, 33 Haw. 658.)
The appeal is dismissed.